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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION


 STATE OF TEXAS,

                        Plaintiff,
                                                             Case No. 6:21-cv-00003
 v.

 UNITED STATES OF AMERICA, et al.,

                       Defendants,

 and

 FIEL HOUSTON and REFUGEE AND
 IMMIGRANT CENTER FOR EDUCATION AND
 LEGAL SERVICES,

                       Intervenor-Defendants.




      [PROPOSED] ORDER GRANTING PROPOSED INTERVENORS’ EMERGENCY
                         MOTION TO INTERVENE

         Pending before the Court is Proposed Intervenor-Defendants’ Emergency Motion to

Intervene. After reviewing the Emergency Motion, any further briefing, and the record and

applicable law, the Court is of the opinion that it should be GRANTED.

         It is SO ORDERED.

         Signed this ____ of _______________,
                                                          ______________________________
                                                          Drew B. Tipton
                                                          United States District Judge




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